           Case 2:11-cv-01614-TJS Document 7 Filed 05/02/11 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JACQUELINE FORD                               :        CIVIL ACTION
                                              :
      v.                                      :
                                              :
NCO FINANCIAL SYSTEMS, INC.                   :        NO. 11-1614

                                       ORDER

      AND NOW, this 2nd day of May, 2011, upon consideration of the Offer of Judgment

(Document No. 6) and the defendant having accepted the offer, it is ORDERED that

JUDGMENT is entered in favor of the plaintiff Jacqueline Ford and against the defendant

NCO Financial Systems, Inc. in the amount of $1,000.



                                              /s/Timothy J. Savage
                                              TIMOTHY J. SAVAGE, J.
